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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


 ROBERT LEE RUSZKOWSKI, JR., DANA                    )
 RENEE GRIFFITH, and JILL KATHLEEN                   )
 KING,                                               )
                                                     )
                        Plaintiffs,                  ) Case No. 18-CV-5754
                                                     )
                  v.                                 ) JURY TRIAL DEMANDED
                                                     )
 DALE JAMES MORGADO,                                 )
                                                     )
                         Defendant.                  )
                                                     )

                                          COMPLAINT

           Plaintiffs ROBERT LEE RUSZKOWSKI, JR., DANA RENEE GRIFFITH, and JILL

KATHLEEN KING, by and through their attorneys, Actuate Law LLC, complain against DALE

JAMES MORGADO as follows:

                                      NATURE OF ACTION

           1.     This action arises from Defendant DALE JAMES MORGADO’s (“Morgado”)

negligence and legal malpractice in his representation of Plaintiffs. Plaintiffs hired Morgado as

their attorney to resolve a dispute regarding their late mother’s pension benefits. As part of his

representation, Morgado filed a complaint in the District Court of Connecticut. That complaint

was dismissed because Morgado failed to respond to a motion to dismiss, failed to meet and confer

with the defendant pursuant to Federal Rule of Civil Procedure 26(f), failed to appear for a pretrial

conference, and failed to meet the court’s deadlines. Despite the fact that an order to show cause

was entered against him, he failed to represent Plaintiffs and directly caused their complaint to be

dismissed.




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           2.    At the same time, the defendant in the federal case filed suits against each of the

Plaintiffs in their respective states of residency. Morgado misrepresented that he could practice in

Illinois, North Carolina, and Colorado (the three states where claims were filed against Plaintiffs),

when he was not licensed to practice in any of those states. He further misled Plaintiffs to believe

that he had filed his appearances and was moving to consolidate the three state cases into the

federal case in Connecticut. Based solely on Morgado’s misrepresentations, Plaintiffs did not

appear in response to the state complaints against them. When default judgments were entered

against each of the Plaintiffs, Morgado negligently told them that they did not need to appear and

that he was filing an “injunction” to consolidate the state cases. When Plaintiffs further discovered

that contempt orders and arrest warrants had been issued against one of the Plaintiffs for their

failure to appear at post-judgment proceedings, Morgado again told them they did not need to

appear.

           3.    As these cases proceeded, Morgado was in communication with Plaintiffs and had

every opportunity to tell them that motions to dismiss had been filed, motions for default judgment

had been filed, their federal complaint had been dismissed, default judgments had been entered

against each of them, and contempt orders and arrest warrants had been issued against two of the

Plaintiffs. Morgado never disclosed any of this information, and instead kept up the façade that he

was representing them in all four cases and was moving to consolidate or settle the cases with

opposing counsel.

           4.    Morgado billed Plaintiffs for his fees and expenses relating to his alleged

representations of them in each of these cases, even requesting fees for appearances that he never

filed and for trips he never made.




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           5.    Morgado’s conduct directly and proximately caused:

                    (a)    The federal complaint to be dismissed;
                    (b)    Default judgments to be entered against each of the Plaintiffs;
                    (c)    Contempt Orders to be entered against each of the Plaintiffs;
                    (d)    Arrest warrants to be issued against two of the Plaintiffs;
                    (e)    Plaintiffs to pay for services that were never performed and fees that
                           were never incurred;
                    (f)    Plaintiffs to hire new counsel in an attempt to quash and vacate the
                           contempt orders and arrest warrants, to move to set aside the default
                           judgments, and to move to restrain a threatened sheriff auction of one
                           of the Plaintiff’s houses.

Plaintiffs have evidence that would have allowed them to prevail on their declaratory judgment

claim in federal court and to prevail in the individual state cases brought against them. But for

Morgado’s negligent conduct, Plaintiffs would have won their declaratory judgment claim,

Plaintiffs would not have default judgments entered against them, and Plaintiffs would not have

had to hire and pay new counsel.

           Solely because of Morgado’s negligent conduct, Plaintiffs now seek to hold him

accountable for his legal malpractice and recoup the damages he has caused.

                                            PARTIES

           6.    ROBERT LEE RUSZKOWSKI, JR. (“Mr. Ruszkowski”) is a resident of Glenview,

Illinois, the son of Kathleen Ruszkowski, and the brother of Dana Renee Griffith and Jill Kathleen

King.

           7.    DANA RENEE GRIFFITH (“Dr. Griffith”) is a resident of Apex, North Carolina,

the daughter of Kathleen Ruszkowski, and the sister of Robert Ruszkowski, Jr. and Jill Kathleen

King.




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           8.    JILL KATHLEEN KING (“Ms. King”) is a resident of Denver, Colorado, the

daughter of Kathleen Ruszkowski, and the sister of Robert Ruszkowski, Jr. and Dana Renee

Griffith.

           9.    DALE JAMES MORGADO (“Morgado”) is an attorney who is/was licensed to

practice in Connecticut, New York, and Florida.

                                              VENUE

           10.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1332 because

there is complete diversity of citizenship: Mr. Ruszkowski is a resident of Illinois; Dr. Griffith is

a resident of North Carolina; Ms. King is a resident of Colorado; and Morgado is a resident and

was licensed to practice in either Connecticut, Florida, or New York. The matter in controversy,

including legal fees paid to Morgado and paid to new counsel as a direct consequence of

Morgado’s conduct, exceeds $75,000, exclusive of interest and costs.

           11.   Venue is proper in this Court because Mr. Ruszkowski is a resident of Illinois and

Morgado held himself out as licensed to practice law in Illinois and was paid fees to file an

appearance as an attorney in Illinois.

                                   FACTUAL BACKGROUND

           12.   Plaintiffs are siblings. Their mother, Kathleen Ruszkowski worked as a nurse for

the City of Stamford. She was a member of the City of Stamford Registered Nurses Local 465 of

Council #4 and a participant in the Stamford Classified Employees’ Retirement Plan.

           13.   Kathleen Ruszkowski named her three children – Plaintiffs – as beneficiaries to her

retirement plan.




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           14.   After Kathleen Ruszkowski was diagnosed with lung cancer, she retired from her

position as a nurse for the City of Stamford with a disability pension on September 24, 2007.

Within five months of her retirement, Kathleen Ruszkowski passed away from lung cancer.

           15.   After her passing, the City of Stamford made pension payments to each of the

Plaintiffs.

           16.   Years later, in 2016, the City of Stamford sent a letter to each of the Plaintiffs stating

that the City had erroneously made extra pension payments to each of the Plaintiffs and were

demanding repayment of the extra payments.

           17.   In response to the City of Stamford’s collection efforts, Plaintiffs engaged and hired

Dale James Morgado to resolve the dispute with the City of Stamford regarding the alleged excess

pension payments.

                                                 Dale Morgado

           18.   Morgado was admitted to practice law in Connecticut on November 5, 2007.

           19.   Morgado was admitted to practice law in Florida on April 16, 2009.

           20.   Morgado was admitted to practice law in New York on March 11, 2014.

           21.   Morgado was never licensed to practice law in Illinois.

           22.   Morgado was never licensed to practice law in North Carolina.

           23.   Morgado was never licensed to practice law in Colorado.

                                   The District Court of Connecticut Case

           24.   On November 30, 2016, Morgado filed a complaint in the District Court of

Connecticut on behalf of Plaintiffs. The Complaint sought a declaratory judgment that all monies

paid by the City of Stamford to Plaintiffs belonged to Plaintiffs free and clear of any claims or

interferences by the City of Stamford.




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           25.   After filing the Complaint (and Amended Complaint on the same day), Morgado

did not appear or file anything in this case until a Rule to Show Cause had been entered by the

court. See Case No. 16-CV-01953-SRU Docket, attached hereto as Exhibit 1.

           26.   On March 27, 2017, the City of Stamford filed a motion to dismiss. The response

to the City’s motion to dismiss was due on April 17, 2017.

           27.   On March 31, 2017, the court entered an order requiring a joint status report

pursuant to Federal Rule of Civil Procedure 26(f) to be filed with the court within two weeks.

Morgado never conferred with counsel for the defendants and never field a joint status report.

           28.   On April 17, 2017, the court set a pretrial conference for April 25, 2017. Morgado

did not appear for the April 25, 2017 pretrial conference. That same day, the court entered an order

to show cause, stating that: (i) Plaintiffs’ counsel failed to appear for the Federal Rule of Civil

Procedure 16 pretrial conference; (ii) Plaintiffs’ counsel failed to confer with opposing counsel

regarding the Federal Rule of Civil Procedure 26(f) status report; and (iii) Plaintiffs’ counsel failed

to serve all defendants within ninety days of the complaint being filed.

           29.   One month later, Morgado filed a response to the Order to Show Cause, citing his

unexpected poor health as the reason for his failing to meet court deadlines and advance the case.

           30.   Instead of informing his clients that an order to show cause had been entered or that

he needed to file a response, Morgado left his clients in the dark. Morgado sent the message below

on the same day he filed the response to the order to show cause.




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                 May 25, 2017       Email from Ruszkowski to Morgado (Exhibit 2):

                                    “Should we have an update call? It sounded like there are
                                    things we need to discuss. I have no idea what is going
                                    on.

                                    Morgado responded:

                                    “We certainly can, but to save you the suspense, it is
                                    business as usual, so nothing strange or out of the
                                    ordinary to fill you in on. I did put together an online
                                    booking site so you find a time that works for you and
                                    schedule a time to confer as you wish….”


           31.    On July 27, 2017, the Board of Trustees of the Classified Employees Retirement

Fund filed a motion to dismiss the complaint. The response to the motion to dismiss was due on

August 17, 2017. Morgado never filed a response to this motion to dismiss and never filed a request

for an extension.

           32.    On September 1, 2017, the court entered an order stating that the Board of Trustees’

motion to dismiss would be granted unless Plaintiffs responded by September 8, 2017. September

8, 2017 came and went, and Morgado did not file a response to the motion to dismiss.

           33.    On September 12, 2017, the court entered an order granting the Board of Trustees’

motion to dismiss. Seven days later, the court entered another order granting the City of Stamford’s

motion to dismiss and closing the case.

           34.    The last filing or representation made to the court in this matter by Morgado was

his response to the order to show cause on May 25, 2017.

           35.    During this time period, November 30, 2016 to September 12, 2017 Morgado was

in communication with Plaintiffs via email and phone calls. Nevertheless, Morgado did not

disclose that an order to show cause had been filed in this case based on his failure to meet

deadlines set by the court and the Federal Rules of Civil Procedure. Morgado did not disclose that


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he had failed to file a response to a motion to dismiss. Morgado did not disclose that the case had

been dismissed. Morgado never stated that he was having health issues, and conversely Morgado

continued to bill Plaintiffs for his alleged services.

           36.   Plaintiffs’ District Court of Connecticut action was dismissed solely because

Morgado failed to file pleadings, appear for hearings, and meet the court deadlines.

           37.   Plaintiffs had evidence that would have allowed them to prevail on their declaratory

judgment claim. But for Morgado’s negligent conduct, Plaintiffs would have prevailed on their

claim for declaratory judgment.

                                           The State Cases

           38.   Shortly after Plaintiffs filed their declaratory judgment action in the District Court

of Connecticut, the City of Stamford and the Board of Trustees filed a complaint against each of

the Plaintiffs in their states of residency.

           39.   On December 13, 2016, the City of Stamford and the Board of Trustees of the

Classified Employees Retirement Fund filed suit against Mr. Ruszkowski in the Circuit Court of

Cook County.

           40.   On January 3, 2017, the City of Stamford, Classified Employee Retirement Fund

filed suit against Dr. Griffith in the General Court of Justice, Superior Court Division in North

Carolina.

           41.   On January 12, 2017, the City of Stamford filed suit against Ms. King in the District

Court, City & County of Denver, Colorado.

           42.   In each of the “State Cases,” the City of Stamford sought to recoup some of the

pension payments made to the Plaintiffs, which they said were made by the City erroneously and

by accident.




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           43.     After receiving service of the State Cases, Plaintiffs promptly notified Morgado

that they had been sued and served in their respective states of residency. For example, Mr.

Ruszkowski was not served with notice of the underlying complaint until February 7, 2017. He

contacted Morgado the next day to let him know that he had been served.

           44.     In their conversations with Morgado after Plaintiffs received notice of the State

Cases, Morgado explained that he would represent them in the State Cases and move to consolidate

the three State Cases (against each of the Ruszkowski siblings) into the federal action that was

already proceeding in the District Court of Connecticut.

           45.     Morgado never told any of the Plaintiffs that he was not licensed to practice law in

Illinois, North Carolina, or Colorado.

           46.     Morgado never suggested to or informed Plaintiffs that they needed to hire local

counsel.

           47.     Instead, Morgado explicitly stated that he would be filing appearances on behalf of

each of the Plaintiffs in the State Cases.

           48.     Despite the fact that he never filed his appearance in any of the State Cases,

Morgado represented to Mr. Ruszkowski that he would need $250 per case to appear in each of

the state actions.

                 March 28, 2017       Email from Morgado to Ruszkowski (Exhibit 3)

                                      “Here is the wiring information to send the
                                      $750 ($250 x 3) to permit and pay for me to appear
                                      in your three other cases. Can you kindly wire that
                                      today? Thanks Rob. – DJM”


           49.     Morgado wrote later on March 28, 2017 to confirm the amount owed for him to file

appearances in each of the State Cases: “Okay, it is the same fee across the board per case,




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regardless of the state, i.e., $250 per case, so $750 altogether.” March 28, 2017 email, attached

hereto as Exhibit 4.

          50.      The Plaintiffs paid $750 to Morgado to file his appearances in each of the State

Cases. Morgado received the money, but never filed his appearances.

          51.      Based on Morgado’s representation that he would be consolidating the State Cases

into the federal case and that they did not need to respond or appear in the State Cases, none of the

Plaintiffs appeared in response to the respective complaints.

          52.      Ruszkowski, on behalf of himself and his sisters, followed up with Morgado several

times to determine if Morgado had consolidated the State Cases into the federal action:

                February 21, 2017     Email from Ruszkowski to Morgado (Exhibit 5)

                                      “Also, did we ever hear back definitively about
                                      consolidating the cases from the NC, CO, and IL
                                      attorneys?”

                 March 10, 2017       Email from Ruszkowski to Morgado (Exhibit 6)

                                      “As an update, have the individual summons/cases
                                      against Dana, Jill, and me been successfully
                                      consolidated into the other case?”


          53.      Morgado did not respond to these emails and requests for information.

          54.      Because Morgado failed to file an appearance, hire local counsel, or respond to the

State Case complaints, motions for default judgment were filed in each of the State Cases against

each of the Plaintiffs.

          55.      Morgado never told any of the Plaintiffs that a motion for default judgment had

been filed against them.

          56.      Morgado never responded to the motions for default judgment on behalf of any of

the Plaintiffs.


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          57.     Instead, Morgado continued to represent the fact that he was consolidating the State

Cases into the federal case.

          58.     In response to Morgado’s request for payment of the $750 appearance filing fee,

Mr. Ruszkowski asked:

                March 28, 2017       Email from Ruszkowski to Morgado (Exhibit 4)
                                     (emphasis added)

                                     “My only question is around the reference to
                                     appearing in the three other states. Does that mean
                                     the individual cases against us are not yet
                                     consolidated into the single case? If so, do we need
                                     to do anything about that now?”

                                     Morgado responded:

                                     “to answer your question no they are not yet
                                     consolidated, that is what I intend to do today, as in
                                     right now, I was literally looking up the fees per court
                                     to accomplish this task so I can send you the itemized
                                     costs and have you wire it over. . . . In either scenario
                                     with their cooperation or not, today is a good day to
                                     do it and all part of my tractor trailer[sic] down the
                                     highway strategy. I’ll finish adding up the court fees
                                     and email you right back.”


          59.     Default Judgments were entered in each of the State Cases against Plaintiffs

because Morgado failed to file an appearance, failed to hire local counsel, failed to respond to the

Complaints, and failed to respond to the motions for default judgment.

          60.     Morgado further did not tell any of his clients that default judgments had been

entered against them. For example, an email chain three days after the default judgment was

entered against Mr. Ruszkowski mentions nothing about the default judgment. See April 28, 2017

Email, attached hereto as Exhibit 7. And, the aforementioned email chain, in which Mr.

Ruszkowski asks for a case update and Morgado states: “We certainly can, but to save you the




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suspense, it is business as usual, so nothing strange or out of the ordinary to fill you in on” is a

month after the default judgment was entered,” was sent one month after the default judgment was

entered against Mr. Ruszkowski. May 25, 2017 Email, attached hereto as Exhibit 8.

          61.    When the default judgments were entered, Plaintiffs were all under the impression

that Morgado had filed his appearance, was representing them in the underlying actions, and was

working to consolidate the cases.

          62.    This façade did not stop here. After the default judgments were entered, Mr.

Ruszkowski and Ms. King received citations to discover assets as part of the post-judgment

proceedings.

          63.    Mr. Ruszkowski again promptly notified Morgado, who responded by telling Mr.

Ruszkowski not to worry about it and that he would file a motion to handle the issue:

                July 2, 2017      Email from Ruszkowski to Morgado (Exhibit 9)

                                  “I actually got my own papers this morning (and on a
                                  Sunday). I have uploaded them to the portal. The file
                                  name is Scan2017 2-7 something or other. It is called
                                  “Citation to Discover Assets” and other papers. I’ve
                                  also attached it here. This does seem to be getting a
                                  little ridiculous that this keeps happening when
                                  supposedly it shouldn’t be. Let me know what I need
                                  to do. Please also let us know what you plan to do and
                                  what the results end up being. This of course make us
                                  a little anxious.”

                July 3, 2017      Email from Morgado to Ruszkowski (Exhibit 9)

                                  “Thanks Rob. I’ll break down the steps for you that
                                  make up the plan in the next two days. In short,
                                  however, we will be filings a motion concerning what
                                  you attached this week though. I’ll send you a copy
                                  for that too for you[r][sic] files.”




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            July 5, 2017     Email from Ruszkowski to Morgado (Exhibit 9)

                             “Thanks again Dale for jumping on this. Just
                             wondering if there is an update yet.”

            July 6, 2017     Email from Morgado to Ruszkowski (Exhibit 10)

                             “Responding to your email from yesterday afternoon,
                             I haven’t posted an update yet just waiting for the
                             clerk to respond to confirm. I will check it soon as I
                             get back to my office and out of this traffic. And I will
                             follow up with you later tonight after dinner time.”

            July 7, 2017     Email from Ruszkowski to Morgado (Exhibit 10)

                             “Just out of curiosity, what is the clerk going to
                             discuss with you? Am I going to have to appear at the
                             court date indicated on the papers I received?”

            July 9, 2017     Email from Ruszkowski to Morgado (Exhibit 11)

                             “I am getting nervous about this upcoming court
                             appearance required in the papers I received. I need to
                             know if I will actually need to go to it so I can make
                             appropriate arrangements. Please let me know.”

            July 11, 2017    Email from Ruszkowski to Morgado (Exhibit 12)
                             (emphasis added)

                             “I am getting very nervous about the status of our case
                             and the papers I received. I don’t know what is going
                             on and whether I need to appear in court in a couple of
                             weeks. Please call me at 312.860-5661.”

                             Morgado responded:

                             “That is something they send out automatically. You
                             won’t be attending or need to go. Don’t be nervous.
                             I’ll call you after my deposition today.”

                             Ruszkowski responded:

                             “Thanks for the reassurance Dale. Let me know when
                             you expect to call so I can make sure I don’t miss it.”




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          64.    Based on Morgado’s advice that Mr. Ruszkowski did not need to appear, Mr.

Ruszkowski did not appear in response to the citation to discover assets. After this exchange, Mr.

Ruszkowski repeatedly requested to discuss the status of the State Cases with Morgado. He

specifically requested to see documentation that none of the Plaintiffs needed to appear.

                July 12, 2017      Email from Ruszkowski to Morgado (Exhibit 13)

                                   “Are you able to talk quickly today?”

                July 13, 2017      Email from Ruszkowski to Morgado (Exhibit 13)

                                   “I’d really like to discuss this issue quickly. You
                                   mentioned you would provide documentation that
                                   this has been resolved, but we haven’t seen anything
                                   yet. Let me know.”

                July 14, 2017      Email from Ruszkowski to Morgado (Exhibit 14)

                                   “I don’t get it, am I that unimportant? We have been
                                   receiving very threatening letters and the only thing
                                   we have heard from you is ‘don’t worry about it.’
                                   You promise that we will see documentation that it is
                                   resolved and nothing materializes. My letter literally
                                   says I can be arrested if I don’t show up in court.
                                   How can you realistically expect me to ignore that
                                   based on what you have given me? I really need to
                                   talk to you about this. I have an incredibly high level
                                   of stress that is exacerbated by the fact that you are
                                   ignoring me. Please let me know when you can talk
                                   and let’s talk then.”


          65.    In response to this last email, Morgado alleged that “the clerk” (although it is

unclear whether he was referring to the clerk in federal court or in Mr. Ruszkowski’s state court

case) was delaying progress:




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                July 18, 2017      Email from Morgado to Ruszkowski (Exhibit 15):

                                   “The clerk is taking too long for my liking and I know
                                   you are anxious about progressing the state cases to a
                                   close so when I get out of court today I plan, if my
                                   research bears out the way I believe it will to prepare a
                                   temporary injunction to be filed with the federal court.
                                   The point of this will be to cease and stop any and all
                                   state court actions. I believe this will give you the
                                   relief you seek. How’s everything else going with you
                                   and your family?”

                                   Ruszkowski responded:

                                   “Thanks for the email and yes, a temporary injunction
                                   sound like a very good solution and will provide the
                                   relief we are seeking. We are not usually involved in
                                   these kinds of things so any threatening-sounding
                                   document tends to set off alarms for us. What were
                                   you trying to get from the clerk? Was it something
                                   else?
                                   Please let me know when you have a draft of the
                                   temporary injunction and how it works to get it
                                   implemented.”


          66.     Morgado never explained what he was waiting for from “the clerk,” never sent Mr.

Ruszkowski an injunction, and never filed an injunction or any motion to consolidate the cases.

          67.     Despite the fact that he was not going to and did not file any sort of injunction,

Morgado continued to make misleading statements to Mr. Ruszkowski:




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                July 21, 2017     Email from Morgado to Ruszkowski (Exhibit 16)

                                  “Less[sic] you think I forgot about you, I did not. I am
                                  making a few final edits, as is my normal process. I
                                  can’t submit something subpar (there’s the control
                                  freak in me), plus in the evening … after the children
                                  are in bed, along with early morning… before aware,
                                  and before the phone calls begin and emails start
                                  flying etc. …. Well that is the best time research and
                                  write)[sic].”

                                  Ruszkowski responded:

                                  “Appreciate the heads up. Let me know if I can help.”

                July 23, 2017     Email from Ruszkowski to Morgado (Exhibit 17)

                                  “Am I able to see a draft of the injunction even if it is
                                  not filed yet? As we discussed, I still have anxiety
                                  over this.”

                July 24, 2017     Email from Morgado to Ruszkowski (Exhibit 16)

                                  “…and while the motion is good, I do have some other
                                  things that you can help out on.”

                                  Ruszkowski responded:

                                  “Great, can you send me the motion? Is it filed?”

                July 24, 2017     Email from Ruszkowski to Morgado (Exhibit 17)

                                  “I am feeling sick with anxiety. What is the status of
                                  this? Has the injunction been filed? If so, please send
                                  it to me. This has gone on way to[o] long and I need to
                                  get this put to bed. Please call me asap.”


          68.     In email correspondence the next day, Morgado explained that he had continued

the July 27th hearing date in Mr. Ruszkowski’s Illinois state case. It is unclear how Morgado could

have continued this case without filing an appearance on behalf of Mr. Ruszkowski or being




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licensed to practice in Illinois. It appears that he contacted counsel for the City of Stamford and

requested the continuance without any appearance being filed.

                July 25, 2017      Email from Ruszkowski to Morgado (Exhibit 18)

                                   “Let me know what you need my help on and please
                                   do send the injunction ASAP. You said you would
                                   send that as soon as it was done.”

                                   Morgado responded:

                                   “I have some excellent news for you. The July 27,
                                   2017 scheduled event for you has been officially put
                                   off. I told you not to worry.”

                                   Ruszkowski replied:

                                   “That is great news Dale, I am certainly very happy to
                                   hear about that. I would be interested in some of the
                                   details, such as what was the cause of the delay (was it
                                   the injunction, something else), will it happen in the
                                   future, what is the status of Dana’s and Jill’s
                                   situations, etc.?
                                   Hopefully the injunction has been put into place and
                                   will protect all of us from any action at the state level,
                                   but let me know whether that is true or not.”

                July 25, 2017      Email from Morgado to Ruszkowski (Exhibit 19)

                                   “Rob, I am glad I was able to get the 7/27/17
                                   examination putoff[sic] for you. Now that the
                                   immediate issue has been resolved, I finally got
                                   around to billing at least February. Accordingly, I was
                                   wondering if you could send a wire in for February’s
                                   bill. Thanks so much. I look forward to catching up
                                   with you this week so I can answer any additional
                                   questions you might have.”


          69.     Morgado’s negligent conduct was not limited to Mr. Ruszkowski’s State Case.

Morgado’s conduct of not responding to Plaintiffs’ questions, providing misleading information,

and failing to actually represent his clients in the State Cases affected each of the Plaintiffs.



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          70.   Dr. Griffith became so frustrated with the lack of communication and the lack of

resolution that she filed a motion for a continuance herself. Although an arrest warrant was not

issued for Dr. Griffith, as of this filing, a sheriff auction of her home is being threatened as part of

post-judgment proceedings.

          71.   Eventually, contempt orders and arrest warrants were issued against Mr.

Ruszkowski and Ms. King.

          72.   Morgado did not disclose that arrest warrants had been issued against these two

Plaintiffs. Instead, Ms. King learned about it when she called the court on another matter.

            November 15, 2017      Email from Ruszkowski to Morgado (Exhibit 20)

                                   “Jill said the court told her there is an arrest warrant
                                   out for her? What is going on?
                                   Am I in the same boat? We all assume you are taking
                                   care of things on our behalf and the difficulty in
                                   getting in touch with you is to manage legal costs. I
                                   think it is fair to say that we all need a comprehensive
                                   update immediately. When can we do this?”

            November 20, 2017      Email from Ruszkowski to Morgado (Exhibit 21)

                                   “Please let me know if there is a time in the near
                                   future we can catch up. Jill contacted the court on
                                   another matter (her divorce) and they told her there
                                   was an arrest warrant outstanding for her associated
                                   with this case. They said she can be taken to jail if she
                                   is pulled over for a traffic stop, etc. We really need to
                                   figure out what is going on ASAP.”

            November 21, 2017      Email from Ruszkowski to Morgado (Exhibit 21)

                                   “Please let me know if there is time for a call. It would
                                   really be good to do this before thanksgiving.”




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          73.   When Morgado finally responded, he misleadingly stated that he was in

communications with opposing counsel regarding settling the federal case, even though that case

had been dismissed two months before:

            November 23, 2017      Email from Morgado to Ruszkowski (Exhibit 22)

                                   “Good afternoon Robert, and A Happy Thanksgiving
                                   to you and your family. I’m sorry we didn’t get to
                                   touch base last week, but I spoke with opposing
                                   counsel and they informed me they are recommending
                                   that their client give more consideration to settling the
                                   case, and that they are recommending an increase in
                                   settlement monies from the level we discussed.
                                   However, I don’t’ know how much of an increase …
                                   so the devil will be in the details. Hopefully opposing
                                   counsel will hear from their client soon and they can
                                   pass on their formal offer.”


          74.   The impetus for the contempt orders and arrest warrants was Plaintiffs’ failure to

appear or respond in the post-judgment proceedings. Plaintiff’s failure to appear in the post-

judgment proceedings was solely caused by Morgado’s continued representations that Plaintiffs

did not need to appear and that he was resolving their cases.

          75.   This course of conduct—Morgado not responding to Plaintiffs’ questions,

providing misleading information, and failing to actually represent Plaintiffs in the State Cases—

continued, even after arrest warrants had been issued against the Mr. Ruszkowski and Ms. King.

          76.   After Ms. King found out at an arrest warrant had been issued for her by calling the

court on another case, she repeatedly expressed her concern over having an arrest warrant issued

against her and needing to have it resolved as soon as possible. Morgado responded that having a

warrant out for her arrest while traveling, “it will not be an issue.” He further falsely stated that he

was representing her in the Colorado case and that he had already raised the issue of her arrest

warrant: “I know I have a hearing coming up in your case soon. In an abundance of caution, I


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would raise the issue again.” Morgado had never appeared in this case and certainly did not appear

for a hearing and raise any objection to the arrest warrant.

                January 11, 2018    Email from King to Morgado (Exhibit 23)

                                    “Hi Dale – can we please try to reschedule this call
                                    asap . . . and also I am really panicked about the arrest
                                    warrant situation.”

                January 17, 2018    Email from King to Morgado (Exhibit 23)

                                    “Hi Dale – want to check back on this. Has become
                                    more urgent because my job wants me to travel again
                                    next month, and I don’t know if I can get through
                                    airport security with an arrest warrant outstanding.”

                January 24, 2018    Email from Morgado to King (Exhibit 24)

                                    “Come to think of it . . . it is probably for the best we
                                    talk tomorrow though ... I am tired for one . . . but
                                    more importantly, I want to be able to properly confer
                                    with you, have your case file in front of me etc... I
                                    want to be able to go over the various court filings
                                    with you etc... and give you to a reasonable time in the
                                    day so you can review and ask any questions you
                                    might have, without feeling rushed or nodding off to
                                    sleep. Plus, if I’m at my office, as opposed to my car
                                    or court, I can always quickly fire up a screen sharing
                                    session where we can go over and interact with the
                                    documents live etc. …

                                    But to answer your most pressing question about
                                    travel; it will not be an issue. In fact, I know I have a
                                    hearing coming up in your case soon. In an abundance
                                    of caution, I would raise the issue again ... you can be
                                    present ... and I’ll then move the court (judge) for an
                                    ore tenus order stating your[sic] are under no travel
                                    restriction and that no warrant is in effect etc. . . . That
                                    way you have clarity and peace of mind.”


          77.      The deception continued when Morgado emailed Ms. King the next day, stating: “I

just hung up with Judicial Assistant,” apparently referring the judge in Colorado’s assistant and



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stating that he had moved the date of her hearing and needed money to book his plane flight to

Colorado to attend that hearing. January 26, 2018 Email, attached hereto as Exhibit 25.

          78.     Morgado requested and was paid money for a trip he never took to represent Ms.

King at a hearing that was not scheduled. When Ms. King requested to pay for the plane ticket

directly with a credit card, Morgado ignored her request for days until Ms. King thought it was

getting too late to purchase the tickets and had funds wired to Morgado instead. January 2018

Emails, attached hereto as Exhibit 26. No one except for Morgado knows what was done with

these funds, as he did not purchase a plane ticket to attend a hearing on behalf of Ms. King.

          79.     Based on Morgado’s representations, Ms. King believed that he was working to

resolve the arrest warrant in early 2018.

          80.     Months later, Ms. King called the court to determine if the arrest warrant had been

vacated or quashed and when she found it had not been resolved, she immediately expressed her

surprise and concern to Morgado:

                April 25, 2018      Email from King to Morgado (Exhibit 27)

                                    “I’ve just called the Denver County courthouse to
                                    check on the status of the arrest warrant. They have
                                    told me that it is still outstanding. What can we do
                                    about this, asap? I am traveling for work in a couple of
                                    weeks and I am very nervous about going through
                                    airport security. This is the first time that I will have
                                    traveled since the warrant was issued, and I cannot
                                    postpone this trip anymore.”


          81.     Despite the fact that Ms. King sent this urgent email to two email addresses for

Morgado, he never responded.

          82.     Morgado continued to not respond to Plaintiffs’ inquiries and concerns until

Plaintiffs learned on May 3, 2018 that Morgado’s New York law license had been suspended.




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          83.   Upon learning this information, Plaintiffs diligently contacted new counsel. The

undersigned attorneys discovered that arrest warrants had also been issued for Mr. Ruszkowski.

New counsel then filed emergency motions to quash and vacate the arrest warrants and petitions

to set aside the default judgments. The petitions to set aside the default judgment are pending as

of the day of this filing.

                                      License Suspensions

          84.   Morgado’s license to practice law in New York was suspended as of January 30,

2018 for similar behavior, including failures to represent clients, failures to communicate with

clients, and his own failure to appear for disciplinary proceedings. Matter of Morgado, 2018 NY

Slip Op 00535, ¶ 2, 159 A.D.3d 50, 53, 70 N.Y.S.3d 12, 14 (App. Div.), attached as Exhibit 28.

As that opinion notes, Mr. Morgado even failed to respond to emails from the Attorney Grievance

Committee. Id.

          85.   Morgado’s license to practice law in Florida was suspended as of July 12, 2018.

The Petition for Emergency suspension includes affidavits from three former clients, which allege

that Morgado kept settlement funds belonging to his client, agreed to settlements without client

permission, and even forged his client’s signature on a settlement check. Florida Petition for

Emergency Suspension and corresponding Order, attached hereto as Exhibit 29.

          86.   Morgado’s license to practice law in Connecticut was suspended as of July 25,

2018.




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                                      ETHICAL STANDARDS

          87.   Because there are similar ethical rules in Illinois, North Carolina, Colorado, and

each of the states that Morgado was actually licensed to practice in, the following are examples

of some of the ethical standards that Morgado breached in Illinois:

          88.   RULE 1.3: DILIGENCE

                A lawyer shall act with reasonable diligence and promptness in representing a
                client.

          89.   RULE 1.4: COMMUNICATION

                (a) A lawyer shall:
                       (3) keep the client reasonably informed about the status of the matter;
                       (4) promptly comply with reasonable requests for information; and

          90.   RULE 5.5: UNAUTHORIZED PRACTICE OF LAW;
                MULTIJURISDICTIONAL PRACTICE OF LAW

                (a) A lawyer shall not practice law in a jurisdiction in violation of the regulation
                   of the legal profession in that jurisdiction, or assist another in doing so.
                (b) A lawyer who is not admitted to practice in this jurisdiction shall not:
                        (1) except as authorized by these Rules or other law, establish an office or
                           other systematic and continuous presence in this jurisdiction for the
                           practice of law; or
                        (2) hold out to the public or otherwise represent that the lawyer is admitted
                           to practice law in this jurisdiction.

          91.   RULE 7.1: COMMUNICATIONS CONCERNING A LAWYER’S
                SERVICES

                A lawyer shall not make a false or misleading communication about the lawyer or
                the lawyer’s services. A communication is false or misleading if it contains a
                material misrepresentation of fact or law, or omits a fact necessary to make the
                statement considered as a whole not materially misleading.




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                                   COUNT I – NEGLIGENCE

          92.   Plaintiffs fully restate and reallege paragraphs 1 through 91 of this Complaint as if

fully restated herein.

                                                Duty

          93.   Plaintiffs and Morgado signed an engagement letter on October 2016, in which

Morgado agreed to represent Plaintiffs’ “interests relating to certain pension monies they received

as beneficiaries to their mother’s pension with the City of Stamford.” Exhibit 30.

          94.   Once he agreed to be Plaintiffs’ attorney, Morgado became their fiduciary and owed

each Plaintiff a duty of candor, care, loyalty, and good faith.

          95.   Additionally, he agreed to represent Plaintiffs pursuant to the applicable ethical

rules.

                                               Breach

          96.   Morgado breached his ethical and fiduciary duties that he owed to Plaintiffs in the

federal case when he:

          (a)   Failed to serve all defendants within ninety days, which directly and proximately
                caused an order to show cause to be entered;

          (b)   Failed to confer with defendants for FRCP 26(f) conferences, which directly and
                proximately caused an order to show cause to be entered;

          (c)   Failed to appear for the pretrial conference, which directly and proximately caused
                an order to show cause to be entered;

          (d)   Failed to tell Plaintiffs that an order to show cause had been filed;

          (e)   Responded to the order to show cause alleging that he was dealing with health
                issues, even though he never disclosed any health issues to Plaintiffs;

          (f)   Failed to respond to the Board of Trustees’ motion to dismiss, which directly and
                proximately cause the complaint to be dismissed;

          (g)   Failed to inform his clients that their complaint had been dismissed; and



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          (h)   Falsely represented that he was still negotiating a settlement with the City of
                Stamford two months after the federal case had been dismissed.

          97.   Morgado breached his ethical and fiduciary duties that he owed to Plaintiffs in the

State Cases case when he:

          (a)   Failed to inform Plaintiffs that he was not licensed to practice in Illinois, North
                Carolina, or Colorado;

          (b)   Falsely represented to Plaintiffs that he could represent them in each of their State
                Court cases;

          (c)   Failed to inform Plaintiffs that they needed to hire local counsel;

          (d)   Failed to file an appearance in any of the State Court cases;

          (e)   Falsely represented that he did file appearances in each of the State Court cases;

          (f)   Billed Plaintiffs for appearance fees in each State Case, even though he never
                filed an appearance;

          (g)   Failed to respond to the complaints filed by the City of Stamford on behalf of
                each of the Plaintiffs;

          (h)   Falsely represented that Plaintiffs did not need to appear in response to the
                complaints;

          (i)   Failed to tell Plaintiffs that motions for default judgment had been filed;

          (j)   Failed to respond to the motions for default judgment;

          (k)   Falsely represented that he was attempting to consolidate the State Court cases
                into the federal action;

          (l)   Falsely represented that he had filed an injunction or motion to consolidate the
                State Court cases into the federal action;

          (m)   Failed to tell Plaintiffs that default judgments had been entered against them;

          (n)   Failed to file appeals or petitions to set aside the default judgments;

          (o)   Falsely represented that Plaintiffs did not need to appear in response to the default
                judgments;

          (p)   Failed to determine if contempt orders or arrest warrants had been issued against
                Plaintiffs;




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          (q)    Failed to tell Plaintiffs that arrest warrants and contempt orders had been issued
                 against them;

          (r)    Failed to file any motion or petition to quash the arrest warrants; and

          (s)    Falsely represented that Plaintiffs did not need to appear or respond to the arrest
                 warrants and contempt orders.

                                               Causation

          98.    The aforementioned negligent conduct breached Morgado’s duties to Plaintiffs and

was the direct and proximate cause of Plaintiffs’ damages.

          99.    The fact that Morgado (i) failed to serve all defendants within ninety days, (ii) failed

to confer with defendants for Federal Rule of Civil Procedure 26(f) conferences, and (iii) failed to

appear for the pretrial conference, directly and proximately caused an order to show cause to be

entered.

          100.   The fact that Morgado failed to respond to the Board of Trustees’ motion to dismiss,

even after the Court unilaterally provided an extension, directly and proximately caused the

Complaint to be dismissed as to the Board of Trustees.

          101.   But for Morgado’s conduct that lead to the order to show cause, his continued

failure to follow the court’s instruction or appear for hearings, and his failure to respond to the

Board of Trustees’ motion to dismiss, the court would not have dismissed the claims against the

City of Stamford as well.

          102.   But for Morgado’s negligent conduct in the federal case, Plaintiffs had evidence to

support their claim for a declaratory judgment and would have prevailed.

          103.   But for Morgado’s negligent representation that he would file appearance and

represent Plaintiffs in each of the State Cases, Plaintiffs would have hired local counsel.

          104.   But for Morgado’s false representation that he was moving to consolidate the State

Cases into the federal action and the negligent instruction that they did not need to appear in


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response to the State Case complaints, Plaintiffs would have appeared and defended against these

claims and default judgments would not have been entered.

          105.   But for Morgado’s negligent conduct, Plaintiffs had evidence to support their

defense against the State Case claims and would have prevailed.

          106.   But for Morgado’s false representation that he was moving to consolidate the State

Cases into the federal action and negligent instruction that they did not need to appear in response

to the default judgment, Plaintiff would have appeared and appealed the default judgment

immediately.

          107.   But for Morgado’s false representation that he was moving to consolidate the State

Cases into the federal action and negligent instruction that they did not need to appear in response

to the post-judgment proceedings, Plaintiffs would have appeared and there would have been no

basis to enter contempt orders or arrest warrants.

          108.   But for Morgado’s negligent conduct in both the federal and court cases, Plaintiffs

would not have been required to hire and pay new counsel to move to quash arrest warrants and

contempt orders, petition to set aside the default judgments, and move to restrain a sheriff’s auction

of one of the Plaintiff’s homes.

                                              Damages

          109.   As a direct and proximate cause of Morgado’s negligent conduct, Plaintiffs have

suffered damages in excess of $100,000.

                                          CONCLUSION

          WHEREFORE, Plaintiffs ROBERT LEE RUSZKOWSKI, JR., DANA RENEE

GRIFFITH, and JILL KATHLEEN KING respectfully request that the Court enter judgment in

their favor against DALE JAMES MORGADO and grant them the following relief:




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          A.   Damages in an amount in excess of $100,000;

          B.   Attorneys’ fees;

          C.   Any applicable pre-and post-judgment interests and costs; and

          D.   Such further relief as the Court deems proper and just.



August 22, 2018                                     Respectfully Submitted,

                                                    s/ Dara C. Tarkowski
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